   20-50805-rbk Doc#62 Filed 07/03/20 Entered 07/03/20 23:33:04 Imaged Certificate of
                                   Notice Pg 1 of 2
                         UNITED STATES BANKRUPTCY COURT
                                Western District of Texas

                                                                                 Bankruptcy Case
                                                                                                 20−50805−rbk
                                                                                            No.:
                                                                                    Chapter No.: 11
                                                                                          Judge: Ronald B. King
IN RE: KrisJenn Ranch, LLC , Debtor(s)


                      NOTICE OF FILING OF TRANSCRIPT
          AND OF DEADLINES RELATED TO RESTRICTION AND REDACTION
       A transcript of the proceeding held on 5/21/20 was filed on 6/30/20. The following deadlines apply:

      The parties have until July 7, 2020 to file with the court a Notice of Intent to Request Redaction of this
transcript. The deadline for filing a request for redaction is July 21, 2020.

      If a request for redaction is filed, the redacted transcript is due July 31, 2020.

       If no such notice is filed, the transcript may be made available for remote electronic access upon expiration of
the restriction period, which is September 28, 2020 unless extended by court order.

      To review the transcript for redaction purposes, you may purchase a copy from the transcriber Toni Hudson of
Exceptional Reporting Services, Inc. (361) 949−2988, or you may view the document at the clerk's office public
terminal.




Dated: 7/1/20
                                                                       Barry D. Knight
                                                                       Clerk, U. S. Bankruptcy Court
                                                                       BY: Daniel Paez
                                                    [Notice of Filing of Transcript and of Deadlines Related to Restriction and Redaction (BK)] [NtcftddlrrBKap] ]
         20-50805-rbk Doc#62 Filed 07/03/20 Entered 07/03/20 23:33:04 Imaged Certificate of
                                         Notice Pg 2 of 2
                                               United States Bankruptcy Court
                                                 Western District of Texas
In re:                                                                                                     Case No. 20-50805-rbk
KrisJenn Ranch, LLC                                                                                        Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0542-5                  User: paezd                        Page 1 of 1                          Date Rcvd: Jul 01, 2020
                                      Form ID: 260                       Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 03, 2020.
               +Austin Krist,   Cleveland Terrazas, PLLC,   4611 Bee Cave Rd., Suite 306-B,
                 West Lake Hills, TX 78746-5284
               +Tim Cleveland,   Cleveland Terrazas, PLLC,   4611 Bee Cave Rd., Suite 306-B,
                 West Lake Hills, TX 78746-5284

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 03, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 30, 2020 at the address(es) listed below:
              Carlos M Arce    on behalf of Creditor    Uvalde County Tax Office carce@pbfcm.com,
               mvaldez@pbfcm.com;mvaldez@ecf.courtdrive.com
              Charles John Muller, IV    on behalf of Plaintiff    Krisjenn Ranch, LLC, Krisjenn Ranch, LLC,
               Series Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row john@muller-smeberg.com,
               mary.ables-miller@chamberlainlaw.com
              Charles John Muller, IV    on behalf of Counter Defendant    Krisjenn Ranch, LLC, Krisjenn Ranch,
               LLC, Series Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row
               john.muller@chamberlainlaw.com, mary.ables-miller@chamberlainlaw.com
              John P. Dillman    on behalf of Creditor    Angelina County houston_bankruptcy@publicans.com
              John P. Dillman    on behalf of Creditor    Shelby County houston_bankruptcy@publicans.com
              Laura L. Worsham    on behalf of Creditor    McLeod Oil, LLC lworsham@jonesallen.com,
               kmcdonald@jonesallen.com
              Michael J. Black    on behalf of Creditor    Longbranch Energy, LP mblack@burnsandblack.com,
               mcollins@burnsandblack.com
              Michael J. Black    on behalf of Creditor    DMA Properties, Inc. mblack@burnsandblack.com,
               mcollins@burnsandblack.com
              Ronald J. Smeberg    on behalf of Plaintiff    Krisjenn Ranch, LLC, Krisjenn Ranch, LLC, Series
               Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row ron@smeberg.com, ronaldsmeberg@yahoo.com
              Ronald J. Smeberg    on behalf of 3rd Pty Defendant    Black Duck Properties, LLC ron@smeberg.com,
               ronaldsmeberg@yahoo.com
              Ronald J. Smeberg    on behalf of Debtor    KrisJenn Ranch, LLC, Series Ulvade Ranch
               ron@smeberg.com, ronaldsmeberg@yahoo.com
              Ronald J. Smeberg    on behalf of Debtor    KrisJenn Ranch, LLC ron@smeberg.com,
               ronaldsmeberg@yahoo.com
              Ronald J. Smeberg    on behalf of Debtor    KrisJenn Ranch, LLC, Series Pipeline Row
               ron@smeberg.com, ronaldsmeberg@yahoo.com
              Ronald J. Smeberg    on behalf of Counter Defendant    Krisjenn Ranch, LLC, Krisjenn Ranch, LLC,
               Series Uvalde Ranch, Krisjenn Ranch, LLC, Series Pipeline Row ron@smeberg.com,
               ronaldsmeberg@yahoo.com
              Tab Beall     on behalf of Creditor    Nacogdoches County, et al. tbeall@pbfcm.com,
               tylbkc@pbfcm.com;tbeall@ecf.inforuptcy.com
              Tara LeDay     on behalf of Creditor    Guadalupe County
               tleday@ecf.courtdrive.com;kmorriss@mvbalaw.com;vcovington@mvbalaw.com;bankruptcy@mvbalaw.com;aloc
               klin@mvbalaw.com
              United States Trustee - SA12    USTPRegion07.SN.ECF@usdoj.gov
                                                                                               TOTAL: 17
